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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO

 Civil Action No.: ______


 Philip Greer,

          Plaintiff,

 v.

 Citibank NA,

          Defendant.


                                            COMPLAINT


         For this Complaint, Plaintiff, Philip Greer, by undersigned counsel, states as follows:

                                           JURISDICTION

         1.      This action arises out of Defendant’s repeated violations of the Telephone

 Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

         2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

 transacts business in this District and a substantial portion of the acts giving rise to this action

 occurred in this District.

                                               PARTIES

         3.      Plaintiff, Philip Greer (“Plaintiff”), is an adult individual residing in Lone Tree,

 Colorado, and is a “person” as the term is defined by 47 U.S.C. § 153(39).

         4.      Defendant Citibank NA (“Citibank”), is a New York business entity with an

 address of 399 Park Avenue, New York, New York 10043, and is a “person” as the term is

 defined by 47 U.S.C. § 153(39).
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                                               FACTS

        5.      Within the last year, Citibank began calling Plaintiff’s cellular telephone, number

 720-xxx-6076, using an automatic telephone dialing system (“ATDS” or “predictive dialer”)

 and/or using an artificial or prerecorded voice.

        6.      When Plaintiff answered calls from Citibank, he heard a prerecorded message

 requesting a call back from “Ramon” regarding his Home Depot account.

        7.      Plaintiff does not know “Ramon” and does not have a Home Depot account.

        8.      Plaintiff never provided his cellular telephone number to Citibank for the purpose

 of receiving automated calls related to a third party’s Home Depot account and never provided

 his consent to receive such calls.

        9.      On or about August 20, 2016, Plaintiff spoke with Citibank and informed it that it

 was calling the wrong number.

        10.     Nevertheless, Citibank continued to place automated calls to Plaintiff’s cellular

 telephone number.

                                    COUNT I
                   VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

        11.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 as though fully stated herein.

        12.     At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

 number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

        13.     Defendant continued to place automated calls to Plaintiff’s cellular telephone

 number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

 was made in knowing and/or willful violation of the TCPA, and subject to treble damages

 pursuant to 47 U.S.C. § 227(b)(3)(C).


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          14.   The telephone number called by Defendant was assigned to a cellular telephone

 service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

          15.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

 calls.

          16.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

 as defined by 47 U.S.C. § 227(b)(1)(A)(i).

          17.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call

 placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

          18.   As a result of each call made in knowing and/or willful violation of the TCPA,

 Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                A. Statutory damages of $500.00 for each violation determined to be negligent

                    pursuant to 47 U.S.C. § 227(b)(3)(B);

                B. Treble damages for each violation determined to be willful and/or knowing

                    pursuant to 47 U.S.C. § 227(b)(3)(C); and

                C. Such other and further relief as may be just and proper.

                        TRIAL BY JURY DEMANDED ON ALL COUNTS

 Dated: July 11, 2017
                                                      Respectfully submitted,

                                                      By /s/ Jenny DeFrancisco

                                                      Jenny DeFrancisco, Esq.
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